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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JAMES E. BLEDSOE
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     NO. CR-S-04-0026-WBS
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
15   JAMES E. BLEDSOE and            )
     SUSAN E. D'ORTA, aka            )     DATE: April 30, 2007
16      Susan Mason                  )     TIME: 8:30 a.m.
                                     )     JUDGE: William B. Shubb
17                  Defendants.      )
                                     )
18   _______________________________ )
19        It is hereby stipulated and agreed to between the United States of
20   America through Matthew Segal, Assistant United States Attorney;
21   defendant, JAMES BLEDSOE, by and through his counsel, Matthew C.
22   Bockmon, Assistant Federal Defender; and defendant, SUSAN D'ORTA, by
23   and through her counsel, Dwight M. Samuel, Esq., that the status
24   conference presently scheduled for hearing on April 2, 2007, be vacated
25   and rescheduled for status conference on April 30, 2007, at
26   8:30 a.m.
27         This continuance is being requested because the parties continue
28   to work on a resolution of this matter and defense counsel needs
            Case 2:04-cr-00026-WBS Document 101 Filed 04/02/07 Page 2 of 3


1    additional time to consult with their out-of-district clients regarding
2    consideration of a counteroffer.
3          IT IS FURTHER STIPULATED that the period April 2, 2007, through
4    and including April 30, 2007, be excluded in computing the time within
5    which trial must commence under the Speedy Trial Act, pursuant to 18
6    U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and
7    preparation of counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code
8    T2 for complexity.
9    Dated: March 28, 2007
10                                           Respectfully submitted,
11                                           DANIEL J. BRODERICK
                                             Federal Defender
12
                                             /s/ Matthew C. Bockmon
13                                           ________________________________
                                             MATTHEW C. BOCKMON
14                                           Assistant Federal Defender
                                             Attorney for Defendant
15                                           JAMES E. BLEDSOE
16
                                             /s/ Matthew C. Bockmon for
17                                               Dwight M. Samuel
                                             _______________________________
18                                           DWIGHT M. SAMUEL
                                             Attorney for Defendant
19                                           SUSAN E. D'ORTA
                                             per telephonic authority
20
     Dated:   April 2, 2007
21
                                             MCGREGOR W. SCOTT
22                                           United States Attorney
23                                           /s/ Matthew Segal
                                             _________________________________
24                                           MATTHEW SEGAL
                                             Assistant U.S. Attorney
25                                           per telephonic authority
26
     //
27   //
     //
28


     Stipulation & Order                      2
            Case 2:04-cr-00026-WBS Document 101 Filed 04/02/07 Page 3 of 3


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3                                        O R D E R
4    IT IS SO ORDERED.
5    Dated:   April 2, 2007
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     Stipulation & Order                      3
